  23-10164-smr Doc#125 Filed 06/08/23 Entered 06/08/23 08:32:30 Ntc/Hrg BK int ptys Pg
                                       1 of 1
                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                                 Bankruptcy Case
                                                                                 23−10164−smr
                                                                            No.:
                                                                    Chapter No.: 7
                                                                          Judge: Shad Robinson
IN RE: ASTRALABS Inc , Debtor(s)




                                        NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

     at   Austin Courtroom 1, Homer Thornberry Judicial Bldg., 903 San Jacinto, Austin, TX 78701

     on   6/23/23 at 03:00 PM

     Hearing to Consider and Act Upon the Following: (Related Document(s): 119 Motion to Reconsider Order
     Converting Case to One Under Chapter 7 (21 Day Objection Language) filed by Stephen W. Sather for
     Creditors Hasan Ugur Koyluoglu, Thomas Dolezal, Matthew Kelly, Casey Melcher (Related Document(s): 89
     Order Converting Case to Chapter 7. ( Eric Terry removed from the case. Trustee Randolph N Osherow added
     to the case. ) (related document(s): 83 Motion to Dismiss or Convert Case filed by Shane P. Tobin for U.S.
     Trustee United States Trustee − AU12) (Order entered on 5/12/2023))) Hearing Scheduled For 6/23/2023 at
     03:00 PM at Austin Courtroom 1 ...Prior court approval through CM/ECF is required to appear by WebEx or
     by phone for this hearing. ... Five calendar days before the hearing, exhibits MUST be: (1) mailed to U.S.
     Bankruptcy Court, Attn: Jennifer Lopez, Homer Thornberry Judicial Bldg., 903 San Jacinto, Suite 322,
     Austin, TX 78701 and (2) emailed to Sarah Wood at sarah_wood@txwb.uscourts.gov and Jennifer Lopez at
     jennifer_lopez@txwb.uscourts.gov....You MUST also email Jennifer Lopez and Sarah Wood and request a
     special setting if your time estimate for both sides exceeds 30 minutes. (Lopez, Jennifer)


Dated: 6/8/23
                                                          Barry D. Knight
                                                          Clerk, U. S. Bankruptcy Court




                                                                                          [Hearing Notice (BK)] [NtchrgBKap]
